Case 2:24-cv-06089-JMA-AYS   Document 1-3   Filed 08/30/24   Page 1 of 2 PageID #:
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                       EXHIBIT C
FILED: NASSAU COUNTY CLERK 07/29/2024 11:20 AM                                                                                                                                     INDEX NO. 607805/2024
        CaseNO.
NYSCEF DOC.   2:24-cv-06089-JMA-AYS
                 2                                                               Document 1-3                       Filed 08/30/24                         Page 2 of 2NYSCEF:
                                                                                                                                                            RECEIVED   PageID 07/29/2024
                                                                                                                                                                              #:
                                                                                         16
                                                         LoEa & Loes LLP 345 PAR8Avenue NewYOR8, NY10154
                                                                                                                                                           Clienes                   No.:
                             AFFIRMATION OF SERVICE                                                                                              Index Number:
                                                                                                                                                                            File
                                                                                                                                                                                              607805/2024

    SUPREMECOURTOFTHESTATEOF NEWYORK                                                                                                                Date Filed:                             May3, 2024
    COUNTYOFNASSAU                                                                                                                                 Court Date:




                                                                             SDNLIMITED and STEVENNERAYOFF,
                                                                                                                                                                                                           Plaintiff


                                                                                          IOV LABS LIMITED, et al.,

                                                                                                                                                                                                        Defendant

     The undersigned affirms and says: that affirmant                       is not a party to this      action,     is over   18 years of age and
     resides in the State of Tennessee
     That on the following          date:               July 26, 2024              , at the following     time:            10:35         AM          ,

     at                          ACMEFEED& SEED, 101 BROADWAY,
                                                             NASHVILLE,TN 37201                                                                                        affirmant       served the within
                                                                                                                                                    - Form EFM-1
                                         Summonswith Notice and Notice of Electronic                       Filing     (Mandatory Case)



    [2]     Papers so served were properly endorsed with the Index Number and date of filing.

           Upon:      RSKLABS LIMITED C/O RAULLAPRIDA, AS OFFICER

      Individual       By delivering        a true copy thereof     to said recipient   personally;   affirmant     knew the person so served to be the individual                             described therein.


    -Responsible By delivering              to and leaving   with
                                                                                                                                                                                        Relationship
     Person                                                                                           Said premises being the defendant / respondents
                        a true copy thereof,        a person of suitable age and discretion.
                        [   ] dwelling      place      [ ] place of business/employment                [ ] last known address within the State.  [ ] usual place of abode

      Corporation      By delivering        to and leaving   with                  RAULLAPRIDA                          said individual          to be                               OFFICER
      LLC / LLP        who specifically        stated   he/she was authonzed to accépt service            on behalf    of the Corporation/Government                        Agency/Entity.



      Affixing         By affixing a true copy thereof to the door, being the defendant/respondents                           [     ] dwelling     place           {       ] place of business/employment
      To Door          { ] last known address within the State. [ } usual place of abode

      Previous          Deponent previously          attempted to serve the above named defendant/respondent                       on:
      Attempts

      Description       Sex:        Male            Color of skin        White           Color of hair:       Black               Age:     25 - 35 Yrs.                    Height:          5ft 4inch - 5ft 8inch

      of Recipient     Weight:           160-200 Lbs.         Other Features:       Glasses & five o'clock        shadow
                                                                                                                                                            Confidential"
          Mail          A copy thereof was deposited in a postpaid,   properly addressed envelope,                       marked "Personal            and                             in a depository      maintained
                        by the U. S. P. S. and mailed First Class mail to the above address


    O WITNESS
      FEES
              Subpoena Fee Tendered in the amount of $.

           MILITARY I asked the person spoken to whether defendant was in active military service of the United States in any capacity whatever and
           SERVICE received a negative reply. The source of my information and the grounds of my belief are the conversations    and observations above
                        narrated.


          Other


                       I affirm on 07/26/2024 under the penalties of perjury under the
                       laws of NewYork, which may include a fine or imprisonment,
                       that the foregoing  is true, and I understand that this document
                       may be filed in an action or proceeding in a court of law.                                                                                      .
                                                                                                                    PROCESSSERVER- PRINT NA                                            ELOWSIGNATURE
                                                                                                                                                           Keith           Mays
                                                                                                                    PROCESS
                                                                                                                          SERVERLICENSE#
                  COURT                                       y, NY11590 LtCEssE #1382542
                      SurroRT, INC., 265 Post Ave #150, WESTBUR                                                                                                Work Order # 1488025




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